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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )              CASE NO. 8:05CR32
                                            )
                     Plaintiff,             )
                                            )
              vs.                           )                    ORDER
                                            )
KRISTINA VOIEN,                             )
                                            )
                     Defendant.             )

       This matter is before the Court on the Defendant’s motion to continue the

sentencing hearing (Filing No. 74).

       IT IS ORDERED that the Defendant’s motion to continue the sentencing hearing

(Filing No. 74) is denied.

       DATED this 6th day of September, 2005.

                                         BY THE COURT:

                                         s/Laurie Smith Camp
                                         United States District Judge
